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                             IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF UTAH CENTRAL DIVISION

UNITED STATES OF AMERICA,                                  MEMORANDUM DECISION AND
                                                           ORDER GRANTING IN PART
         Plaintiff,
                                                           MOTIONS FOR BILL OF PARTICULARS
v.                                                         Case No. 2:05-CR-805 TC

DENNIS B. EVANSON, BRENT H.
METCALF, STEPHEN F. PETERSEN,                              District Judge Tena Campbell
REED H. BARKER, WAYNE F.
DEMEESTER and GRAHAM R. TAYLOR,
         Defendants.                                       Magistrate Judge David Nuffer

         Under 28 U.S.C. § 636(b)(1)(A) the magistrate judge has been referred motions for bill of

particulars. 1

         The purpose of a bill of particulars is to inform the defendant of the charge
         against him with sufficient precision to allow him to prepare his defense. If the
         indictment sets forth the elements of the offense charged and sufficiently apprised
         the defendant of the charges to enable him to prepare for trial” a bill of particulars
         is not necessary. Significantly, a defendant is not entitled to notice of all of the
         evidence the government intends to produce, but only the theory of the
         government's case, for a bill of particulars is not a discovery device. 2
         The movants claim 3 that the conspiracy count of the Indictment fails to give adequate

notice of the acts alleged against each Defendant because paragraphs 17 through 57 make




1
  Defendant Demeester’s Motion for a Bill Of Particulars, docket no. 116, filed August 25, 2006; [Defendant
Taylor’s] Motion for a Bill of Particulars, docket no. 133, filed August 25, 2006. Defendant Taylor also joined in
Demeester’s motion. See Taylor’s Motion to Join Co-Defendants’ Motions, docket no. 178, filed September 5,
2006.
2
  U.S. v. Tyler, Nos. 00-6284, 00-6341, 2002 WL 1354122, *2 (10th Cir. June 21, 2002) (unpublished
decision)(internal citations and quotation marks omitted).
3
  Defendant Demeester’s Motion For A Bill Of Particulars at 2-30; [Defendant Taylor’s] Memorandum of Points
and Authorities in Support of Motion for a Bill of Particulars at 3-7, docket no. 134, filed August 25, 2006.
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allegations against all “Defendants” with only a handful of allegations against specific persons. 4

There are, however, an additional hundred paragraphs pertaining to the conspiracy count which

do allege specific acts by specific named individuals. 5

        The 40 paragraphs which do not name specific Defendants are not all of the same type.

Some are general, conclusory, illustrative characterizations with an explanatory, summary, or

introductory function. Some examples are:

        The DEFENDANTS devised, organized, promoted and sold a scheme, the
        purpose and effect of which was to defraud the United States of America, by
        attempting to fraudulently conceal their clients' income from the IRS, by evading
        the DEFENDANTS and their clients' income tax liability, and by defrauding the
        United States in its revenue collecting capacity. In all, approximately 75 clients
        throughout the United States purchased and used the DEFENDANTS' scheme.
        The DEFENDANTS caused over $60 million dollars in income to be concealed
        from the IRS, which resulted in a loss to the United States of at least $20 million. 6

        The DEFENDANTS created a method whereby clients purportedly entered into
        currency contracts that qualified for Section 988 treatment. These purported
        currency contracts were designed to always produce losses for the clients. In fact,
        in almost every case there were no actual currency trades; rather, the
        DEFENDANTS merely created paperwork reflecting a fictitious contract which
        concluded with a loss for the client. Moreover, in many cases, the documents
        reflecting the trades were backdated; the documents were prepared after the trades
        supposedly took place. The purpose of this was to create false deductions to offset
        the clients' ordinary income and thereby evade their income taxes. 7

        Regardless of whether the clients had contributed cash or had become partners in
        Omega Forex by taking out loans, the DEFENDANTS prepared or caused to be




4
  Indictment, docket no. 1, filed November 2, 2005. (“Demeester liquated the legitimate assets from the clients’
I.R.A. accounts. Demeester then caused the clients’ I.R.A.’s to purchase worthless shares of Press Services.”
Indictment ¶ 32. See also ¶ 33. “Evanson and Peterson used said fees for their personal benefit . . . .” ¶56.
Paragraphs 56 and 51 refer to “Evanson-controlled accounts.”)
5
  Id. ¶¶ 58-158.
6
  Id. ¶ 19
7
  Id. ¶ 22.




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         prepared tax returns for the clients on which these fictional currency losses were
         reported. 8
These paragraphs are intended to explain the theory of the case, and are subject to proof at trial,

which may or may not involve certain Defendants. All Defendants are on notice that claims

against them may fall under these paragraphs. But the government would not be required at this

point to identify specific Defendants or testimony and documents which could support eventual

findings. More examples of this sort of allegations include the following:

         The DEFENDANTS, using the scheme delineated above, promoted, solicited and
         sold to approximately 75 clients, for a substantial fee, a fraudulent scheme which
         defrauded the United States and the I.R.S., Department of Treasury in excess of
         $20 million of federal income taxes. The manner and means employed by the
         DEFENDANTS and others to effect the objects of the conspiracy were as follows:
         The DEFENDANTS promoted and solicited their scheme through conferences,
         promotional materials and opinion letters;
         The DEFENDANTS falsely represented that the scheme would lawfully eliminate
         or substantially reduce the clients' federal income tax liabilities . . . . 9
These allegations would not be properly subject of a bill of particulars.

         A few of the allegations of the first count, however, appear to allege specific acts which

logically might only be performed by one person, but do not identify an actor.

         The DEFENDANTS maintained a general ledger in order to track the
         payments to and from each client. The DEFENDANTS maintained this
         general ledger in the name of International Capital Management (I.C.M.). 10

         The DEFENDANTS credited the amount of the “premiums,” less the
         DEFENDANTS’ fees, to the clients’ individual I.C.M. sub-ledger accounts. 11

         The DEFENDANTS then credited the clients’ respective I.C.M. sub-ledger
         accounts in an amount equal to the price of the Press Services shares
         DEMEESTER had caused them to purchase, less the DEFENDANTS’ fees. 12

8
  Id. ¶ 25.
9
  Id. ¶¶ 46-49.
10
   Id. ¶ 17.
11
   Id. ¶ 29.




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         The DEFENDANTS kept track of these payments in the I.C.M. general ledger. 13

         The DEFENDANTS also created an entity called Northwest Rentals, L.C. that
         purchased vehicles for the clients under the guise of leases. 14

         The DEFENDANTS then created false paperwork that reflected leases between
         Northwest Rentals and the clients. 15

         Using Children’s Charities International, an entity created by the DEFENDANTS
         . . . . 16

These allegations should be clarified by a bill of particulars to inform the movants of the specific

charges against each of them with sufficient precision to allow each to prepare his defense. The

government should identify the Defendant or Defendants who is alleged to have taken these

actions.

         Other allegations which might refer to a specific person are clarified in later specific

allegations of the indictment or in documentary evidence in the Defendants’ possession through

discovery. These allegations need no clarification. An example is the allegation of tax return

preparation, mailing and filing.

         The DEFENDANTS prepared and caused to be prepared, mailed and filed with
         the IRS, false and fraudulent income tax returns. 17

Later paragraphs clarify these allegations, identifying those who prepared and filed tax

returns. 18


12
   Id. ¶ 33.
13
   Id. ¶ 35.
14
   Id. ¶ 38.
15
   Id.
16
   Id. ¶ 39.
17
   Id. ¶ 57.
18
   See id. ¶¶ 72, 76-77, 81, 84, 86-87, 92-97, 103-108, 110-113, 116, 125-129, 132-135, 137, and 139-151.




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                                                   ORDER


         IT IS HEREBY ORDERED that the motions 19 for bill of particulars are GRANTED IN

PART in that the government shall identify the Defendant or Defendants alleged to have taken

the actions identified in Paragraphs 17, 29, 33, 35, 38 and 39 of the Indictment.



         Dated this 12th day of October, 2006.

                                                    BY THE COURT


                                                    ___________________________
                                                    David Nuffer
                                                    United States Magistrate Judge




19
  Defendant Demeester’s Motion for a Bill Of Particulars, docket no. 116, filed August 25, 2006; [Defendant
Taylor’s] Motion for a Bill of Particulars, docket no. 133, filed August 25, 2006.




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